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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

CAROLYN D. ROSS,           :
         Plaintiff         :
                           :
     Vs.                   :                            C.A. No. 21-cv-00118-JJM-LDA
                           :
COX RHODE ISLAND           :                            Jury Trial Demanded
TELECOM, LLC d/b/a COX     :
COMMUNICATIONS, alias, and :
COXCOM, LLC, d/b/a COX     :
COMMUNICATIONS NEW         :
ENGLAND, alias,            :
          Defendants

                                    AMENDED COMPLAINT

                                       I.         Introduction

       1.      This action is brought by Carolyn D. Ross (“Plaintiff”) seeking declaratory and

injunctive relief and compensatory, liquidated, and punitive damages for acts and/or omissions of Cox

Rhode Island Telcom, LLC d/b/a Cox Communications, alias, and Coxcom, LLC d/b/a Cox

Communications New England, alias, (“Defendants”) in violation of the Age Discrimination in

Employment Act, 29 U.S.C. § 621, et seq. (“ADEA”); the Rhode Island Fair Employment Practices

Act, R.I. Gen. Laws § 28-5-1, et seq. (“FEPA”); and the Rhode Island Civil Rights Act, R.I. Gen.

Laws § 42-112-1, et. seq. (“RICRA”).

                                            II.     Parties

       2.      Plaintiff, Carolyn D. Ross, at all times relevant to this action, was a resident of the

Town of Burrillville, County of Providence, State of Rhode Island.

       3.      Defendant Cox Rhode Island Telcom, LLC d/b/a Cox Communications, alias, (“Cox”

or “Defendant”) and CoxCom, LLC, d/b/a Cox Communications New England, alias (hereinafter,

collectively referred to as “Defendant Cox”) are corporations organized under the laws of the State of

Delaware with a principal place of business located at 1400 Lake Hearn Drive, Atlanta, Georgia.

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                                          III.     Jurisdiction

        4.      The United States District Court for the District of Rhode Island has federal subject

matter jurisdiction over this case under the provisions of 28 U.S.C. § 1331 because Plaintiff asserts

claims arising under federal law; specifically, the ADEA.

        5.      Supplemental jurisdiction over the state law claims set forth herein is predicated on

28 U.S.C. § 1367 as they arise out of the same case or controversy.

                                             IV.     Venue

        6.      Venue is proper in this Court insofar as the Defendant resides in or is doing business

in Rhode Island and therefore is deemed to reside in the District of Rhode Island and a substantial

part of the acts or omissions giving rise to Plaintiff’s claims occurred within the State of Rhode

Island in compliance with the requirements set forth in 28 U.S.C. § 1391.

                         V.      Exhaustion of Administrative Remedies

        7.      On or about January 13, 2020, Plaintiff filed a Charge alleging age discrimination

with the Rhode Island Commission for Human Rights (“RICHR”) and the United States Equal

Employment Opportunity Commission (“EEOC”).

        8.      Thereafter, with more than 120 days but not more than two (2) years having elapsed

since the filing of Plaintiff’s charge of discrimination, Plaintiff filed a Request for Notice of Right to

Sue with the RICHR and the EEOC.

        9.      On or about February 12, 2021, Plaintiff was issued a Notice of Right to Sue by the

RICHR.

        10.     On or about February 16, 2021, Plaintiff requested a Notice of Right to Sue from

the EEOC.

        11.     Accordingly, insofar as she has satisfied all administrative and/or jurisdictional

requirements prior to filing a lawsuit, the Plaintiff has timely instituted suit in the within matter.

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       12.       There is no requirement under the RICRA relative to the exhaustion of

administrative remedies.

                                        VI.     Material Facts

       13.       Plaintiff was born on August 7, 1962 and was fifty-seven (57) years of age at the

time of the events at issue alleged herein.

       14.       Plaintiff was a loyal, experienced, productive, results-oriented, and dedicated

employee of Defendant for over thirty-four (34) years.

       15.       Since on or about 2008, Plaintiff had been employed by Defendant as an Account

Service Representative.

       16.       On or about June of 2018, Plaintiff was suddenly placed on a later shift, from 11

a.m. to 8 p.m.

       17.       On this later shift, Plaintiff had two paid fifteen (15) minute breaks, which Plaintiff

usually took around 1:45 p.m. and 6:30 p.m., and an unpaid hour for lunch, which Plaintiff usually

took around 3 p.m.

       18.       In May 2019, Plaintiff’s supervisor went out on maternity leave and was

temporarily replaced by Kayode Mayowa (“Mr. Mayowa”), the Technical Supervisor of the

Technical Department.

       19.       Upon information and belief, Mr. Mayowa was age thirty-nine (39) during the

relevant time period at issue in this case.

       20.       At some point on or around June of 2019, Plaintiff began logging out of the

computer call system when she was taking her break, lunch, or leaving for the day in a different

way than she had before.




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        21.     While still on her last call before going on break or leaving for the day, Plaintiff

began logging out on the computer so that she was removed from the list to receive calls instead

of waiting until the call was ended and manually going on break or leaving for the day.

        22.     Plaintiff believed that this was a more efficient method for ending her work for that

time period because she would automatically be logged-off when she hung up with the customer.

        23.     On or about July 1, 2019, Plaintiff was asked to meet with Mr. Mayowa and told

that her station was being flagged as engaging in so-called “call avoidance.”

        24.     According to Defendants’ Employee Performance Guidelines, “[b]ehaviors

resulting in not providing 100% of focus to the customer or not being ready to take calls when

available will be considered call/customer avoidance.”

        25.     Call avoidance can include “[m]anipulating the phones to keep one out of an

available status or has the effect of altering an employee’s place in line for the next available call.”

        26.     Call avoidance is a violation of Defendants’ policies.

        27.     Mr. Mayowa had a tablet that showed a list of the purported incidents when the call

avoidance was occurring, but Plaintiff was not given an opportunity to review that list.

        28.     At that time, Plaintiff did not realize that it was her new method of logging out that

was raising red flags and Plaintiff did not understand why her supervisor was saying that the system

showed her engaging in call avoidance.

        29.     Mr. Mayowa asked Plaintiff to pay attention to what might be causing the red flags

and reminded her not to engage in call avoidance.

        30.     On July 19, 2019, Mr. Mayowa met with Plaintiff in a conference room with a

supervisor from another department who was there as a witness; Mr. Mayowa told her that Plaintiff

was being placed on a written Employee Corrective Action Report because her station was still

being flagged as engaging in call avoidance.

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        31.     Specifically, the Employee Corrective Action Report claimed, “Carolyn

manipulated her Avaya Aux Status by placing herself into break for a short duration of time in

order to drop to the bottom of the calling queue.”

        32.     The Report required that Plaintiff “must no longer manipulate her position in the

calling queue by using break or any other idle codes going forward.”

        33.     The Report was a Final Written Warning for misconduct, even though it was the

only written warning Plaintiff received and it did not provide a particular time frame for

remedying the issue.

        34.     The Report included a list of dates and times that the purported call avoidance

actions were taken, nearly all of which occurred around the time that Plaintiff took her lunch or

after 8 p.m., just before Plaintiff left for the day.

        35.     Plaintiff, however, was not given the opportunity to review the list of dates and

times until after she was placed on the Final Written Warning.

        36.     Plaintiff signed the Report to acknowledge that she received it, although she still

did not understand why her calls were being flagged as call avoidance because they were occurring

prior to taking breaks.

        37.     According to Defendants’ Corrective Action Policy, Corrective Actions are tracked

for a period of six (6) months from the corrective action issue date.

        38.     On August 15, 2019, less than one month after she received the Employee

Corrective Action Report, Plaintiff was again brought to the conference room with Mr. Mayowa

and told that the call avoidance issue was still coming up and had not been resolved.

        39.     This time, having reviewed the list of dates and times on the Report, Plaintiff told

Mr. Mayowa that she had been placing herself on break and logging off a different way than before

and suggested that that was probably causing some of her calls to be flagged.

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       40.     Plaintiff informed Mr. Mayowa that she did not fully understand what was causing

the flags, but after reviewing the dates and times it may have been that she was logging out on the

computer while on her last call going into her break time or end of her shift because she would

automatically be logged-off when she hung up with the customer as stated above.

       41.      Plaintiff asked Mr. Mayowa if she reverted back to the former way of logging off

whether that would prevent her calls from appearing on the call avoidance report.

       42.     Mr. Mayowa did not respond to Plaintiff’s comments; he only stated that she was

more than likely to be terminated.

       43.     Because Plaintiff had received no response about the log-off issue, she spoke to Mr.

Mayowa again the next day.

       44.     During that meeting, Mr. Mayowa told Plaintiff that the Human Resources (HR)

Department was too busy at that time, but they would have an answer for her soon.

       45.     On August 20, 2019 at 2:30 p.m., Plaintiff was just getting off the phone with a

customer when Mr. Mayowa asked her to sign off her phone and led her to a small conference

room near the front entrance.

       46.     There, Plaintiff met with Mr. Mayowa and an HR employee.

       47.     Plaintiff was told that she was being terminated for not correcting the call avoidance

issue, however she was not shown any records at that time of her supposed call avoidance.

       48.     Despite Plaintiff’s previous explanation, Defendants, by and through Mr. Mayowa,

proceeded to terminate Plaintiff without conducting any investigation into Plaintiff’s explanation

or giving Plaintiff the opportunity to prove her explanation.

       49.     Indeed, in light of Plaintiff’s explanation and the Report dates and times, which

supported Plaintiff’s explanation, Defendants knew and/or had reason to believe that Plaintiff was

not engaging in “call avoidance” yet intentionally disregarded said facts.

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        50.     Plaintiff was also told that her termination was considered a “lay-off” rather than a

firing so that she could collect unemployment benefits.

        51.     Plaintiff was asked to remove her badge, but Plaintiff was not permitted to return

to her desk; instead, Mr. Mayowa retrieved her belongings and walked her out to the parking lot.

        52.     Plaintiff later obtained records of her break times, which showed that from the date

that Plaintiff was issued a Final Written Warning on July 19, 2019 to the date of her termination

on August 20, 2020, there were only three instances when Plaintiff went into break status for less

than a minute—the only occurrences that could even remotely be considered call avoidance—and

each occurred during her regularly scheduled break time.

                                       Pretextual Termination

        53.     On or about August 20, 2019, Defendants terminated Plaintiff purportedly because it

claimed that she had engaged in call avoidance, which Defendants claimed was a violation of its

company policy that allegedly warranted termination.

        54.     Defendants’ posited explanation for Plaintiff’s termination is nothing more than

pretext because of her age as evidenced by the fact that, as discussed above, Plaintiff had not engaged

in call avoidance, all of the purported incidents occurred immediately prior to going on her break,

lunch, or leaving for the day, and Defendants were aware of the true reason for the “flags” as explained

by Plaintiff and supported by Defendants’ own records.

        55.     Additionally, Defendants’ employee, Mr. Mayowa, lied when he stated that the

computer system “flagged” Plaintiff’s computer for call avoidance because Defendants later admitted

that Mr. Mayowa requested Plaintiff’s “specific daily schedule and her phone activity log” without a

basis in order to drum up a pretextual basis for her termination.

        56.     Moreover, Defendant gave Plaintiff less than two months to correct the purported

infraction from the time that she was first notified.

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       57.     Defendant also decided to terminate Plaintiff almost immediately after she explained

to them that the purported call avoidance infractions likely occurred because she was logging off her

computer differently than she had before, without first conducting an investigation into Plaintiff’s

reasonable and accurate explanation.

                         VII.    General Employment Law Allegations

                                    A.      Age Discrimination

       58.     Defendants discriminated against Plaintiff in the terms and conditions of her

employment on account of her age; specifically, Defendants terminated Plaintiff on August 20, 2019.

       59.     Plaintiff was fifty-seven (57) years of age at the time of her termination and clearly

within the protected age class under applicable law.

       60.     At all times relevant hereto, Plaintiff was among the oldest and highest paid

employees in her department.

       61.     Due largely to her thirty-four (34) years of service, Plaintiff maxed out on annual

vacation with a paid time off accrual of six (6) weeks per year and was at the top of the pay scale for

her position as a call center employee.

       62.     On information and belief, there were only five other employees in Plaintiff’s

department of approximately twenty-five (25) people who were her age or older.

       63.     Around the time of Plaintiff’s discipline and termination, Plaintiff noticed that

Defendants’ managers increasingly acted more friendly toward and appeared to favor younger

employees in the department.

       64.     On information and belief, Defendants’ intent to discriminate on account of Plaintiff’s

age is established, in part, based on the fact she was replaced, or her duties were assumed by one or

more younger workers, thereby establishing a prima facie case of age discrimination.




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        65.     On information and belief, Plaintiff’s replacement is or was paid less compensation

and/or benefits than Defendants had been paying to Plaintiff, thereby further supporting an

inference of age discrimination.

        66.     Moreover, the decisionmaker or primary influencer relied upon for Plaintiff’s

termination, Mr. Mayowa, was younger than Plaintiff and outside of the protected class.

        67.     Defendants’ intent to discriminate against Plaintiff on account of her age is further

established, in part, by its failure to comply with its progressive discipline policy, including, but not

limited to, failure to provide a written warning before a “final” written warning was issued and failure

to adhere to its Corrective Action Policy by providing less than a month within which to correct her

purported deficient conduct.

        68.     Defendants’ intent to discriminate against Plaintiff on account of her age is further

established, in part, by her abrupt termination after long and exemplary service without proper and

reasonable notice, warning or opportunity to correct any purported deficiency.

        69.     Defendants’ intent to discriminate on account of Plaintiff’s age is further established,

in part, based on the pretextual reason given for her termination discussed above.

                                Pattern or Practice/Disparate Impact

        70.     On information and belief, Defendants have engaged in an intentional pattern or

practice of singling out older employees in the protected age class, included Plaintiff, for terminations,

including but not limited to layoffs or terminations.

        71.     Alternatively, Defendants’ ongoing policies and/or practices relating to layoffs and/or

terminations are designed and/or implemented in a way that results in a discriminatory and disparate

impact to older employees in the protected age class.

        72.     For example, on information and belief, younger employees are afforded more

progressive discipline for the same or similar conduct than older employees such as Plaintiff.

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        73.      Adverse employment action based in whole or even in part on account of a

protected class status is a violation of the above-cited employment law provisions.

                                              B.      Harm

        74.      Defendant’s wrongful and/or unlawful acts and/or omissions, including, but not

limited to, those described herein, are in violation of the ADEA, FEPA, and/or the RICRA, and were

motivated by malice or ill will toward Plaintiff, and Defendant otherwise acted in bad-faith and/or

with reckless or deliberate indifference to the statutorily protected rights of Plaintiff.

        75.      As a proximate result of Defendant’s wrongful, unlawful, and/or discriminatory acts

and/or omissions, including, but not limited to, those described herein, Plaintiff suffered, is now

suffering, and will continue to suffer equitable and compensatory damages, including, but not limited

to, loss of income, loss of equity, pain and suffering, emotional distress, loss of enjoyment of life,

humiliation, damage to Plaintiff’s professional and personal reputation, and has incurred and will

continue to incur expenses for legal services, and other great harm.

                                       VIII. Causes of Action

        76.      Plaintiff repeats and re-alleges each and every allegation contained in paragraphs 1

through 75 of this Complaint in each of the counts below with the same force and effect as if fully set

forth therein.

                                            Count One
                               Age Discrimination in Employment Act
                                          29 U.S.C. § 621, et seq.

        77.      Defendant, by its acts and/or omissions, including, but not limited to those described

herein, engaged in unlawful employment discrimination on the basis of age in violation of the ADEA,

which has caused Plaintiff to suffer damages as aforesaid and thereby deprived Plaintiff of her rights

secured under the ADEA.




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                                            Count Two
                            Rhode Island Fair Employment Practices Act,
                                  R.I. Gen. Laws § 28-5-1, et seq.

          66.    Defendant, by its acts and/or omissions, including, but not limited to those described

herein, engaged in unlawful employment discrimination on the basis of age in violation of the FEPA,

causing Plaintiff to suffer damages as aforesaid, and thereby deprived Plaintiff of rights secured under

the FEPA.

                                           Count Three
                                Rhode Island Civil Rights Act of 1990,
                                 R.I. Gen. Laws § 42-112-1, et. seq.

          67.    Defendant, by its acts and/or omissions, including, but not limited to those described

herein, engaged in unlawful discrimination on the basis of age against Plaintiff, and thereby

wrongfully interfered with Plaintiff’s contract of employment in violation of the RICRA, causing

Plaintiff to suffer damages as aforesaid, and thereby deprived Plaintiff of rights secured under the

RICRA.

                                      IX.     Prayers for Relief

          WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant the following

relief:

          1.     A declaratory judgment declaring the acts and/or omissions of Defendant,

                 including, but not limited to those complained of herein, to be in violation of the

                 ADEA, the FEPA, and/or the RICRA.

          2.     An injunction or other equitable relief directing Defendant to take such affirmative

                 action as is necessary to ensure that the effects of these unlawful employment

                 practices are eliminated and not repeated.

          3.     An award of other equitable relief, including but not limited to an award of back

                 pay as well as front pay and other compensation and/or benefits to make her whole

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               for all earnings and benefits she would have received but for Defendant’s

               discriminatory conduct.

       4.      An award of compensatory damages.

       5.      An award of exemplary and/or punitive damages.

       6.      An award of liquidated damages.

       7.      An award of prejudgment interest, reasonable attorneys’ fees, and costs.

       8.      Such other and further relief as this Court deems just and proper.

                                 X.      Demand for Jury Trial

       Plaintiff hereby demands a trial by jury on all counts so triable.

                              XI.     Designation of Trial Counsel

       Plaintiff hereby designates Richard A. Sinapi, Esquire, as trial counsel.

                                                      Plaintiff,
                                                      By his attorneys,
                                                      SINAPI LAW ASSOCIATES, LTD.

       Dated: April 27, 2021                          /s/ Richard A. Sinapi, Esq.       ___
                                                      /s/ Chloe A Davis, Esq.______________
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                                       CERTIFICATION

        I hereby certify that on April 27, 2021, a true copy of the within was filed electronically
via the Court’s CM/ECF System. Notice of this filing will be sent by e-mail to all parties by
operation of the Court’s electronic filing system and the filing is available for viewing and
downloading from the Court’s CM/ECF System. Service on the counsel of record has been
effectuated by electronic means.

                                              /s/ Richard A. Sinapi

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